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                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF PUERTO RICO



    FRANCISCO ALMEIDA-LEÓN, WANDA CRUZ CIVIL ACTION NO. 16-01394 (JAW/BJM)
    QUILES, the Conjugal Partnership; JUAN
    ALMEIDA-LEON
                                           RE: STATE COURT ACTION CASE NO.
        Plaintiffs                         KAC2016-0027 (806)

        v.                                           BREACH OF CONTRACT; DAMAGES;
                                                     LITIGIOUS CREDIT
    WM Capital Management, Inc.; Juan del Pueblo,
    Inc., John Doe, y Fulano de Tal, BM Capital de Tal TRIAL BY JURY DEMANDED
    and Others

          Defendants




                                MOTION IN COMPLIANCE

TO THE HONORABLE COURT:

         COMES NOW, defendant and counter-plaintiff WM Capital Management, Inc. (“WM”),

by and through its undersigned counsel, and respectfully inform on the proceedings at the

GMAC Court as follows:1

         On September 15, 2021, this Court issued a Temporary Restraining Order (“TRO”). The

TRO, among other things, ordered that a copy of itself “be provided forthwith by WM Capital to

the Chief Judge of the Court of First Instance, Superior Part of San Juan, to the Hon. Raul A.

Candelario Lopez, presiding over Case Number KCD2009-0708, and to the Administrative




1The “Almeida Plaintiffs” are Francisco Almeida León, his wife Wanda Cruz-Quiles, their conjugal
partnership, and Juan Almeida León as well as their company, Tenerife Real Estate Holdings, LLC.


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Director of the Puerto Rico Office of Court Administration, the Hon. Sigfrido Steidel Figueroa.”

Id. at 3.

            That very same day, WM filed the attached Informative Motion in the GMAC Court

attaching this Court’s TRO and its Order on TRO (ECF No. 508). Exhibit 1. Courtesy copies of

said Informative Motion, this Court’s TRO, and this Court’s Order on TRO were also hand

delivered via messenger to (a) the Chief (Administrative) Judge of the Court of First Instance,

Superior Part of San Juan, Hon. Laura Lis López Roche, the Administrative Director of the Puerto

Rico Office of Court Administration, the Hon. Sigfrido Steidel Figueroa, the Hon. Maite D.

Oronoz Rodríguez, Chief Judge of the Puerto Rico Supreme Court, the Hon. Javier O. Sepúlveda

Rodríguez, Secretary of the Puerto Rico Supreme Court, and the Puerto Rico Marshal’s Office for

the Judicial Region of San Juan.

            WHEREFORE, WM Capital hereby informs this Court of the above-described

notifications made in compliance with this Court’s TRO.

            RESPECTFULLY SUBMITTED:

            In San Juan, Puerto Rico, this 23rd day of September 2021.

            I HEREBY CERTIFY: that on this date I filed this document electronically with the Clerk

of the Court using the CM/ECF System, which will send notification of such filing to all parties

of record in the case of caption.

                                                 s/ Héctor Orejuela Dávila
                                                 USDC-PR No. 301111
                                                 horejuela@mellado.com

                                                 Attorney for WM Capital
                                                 MELLADO & MELLADO-VILLARREAL
                                                 165 Ponce de León Ave., Suite 102



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